Case 1:14-cv-00370-MSK-MJW Document 103 Filed 03/13/15 USDC Colorado Page 1 of 2




                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO
                                   Chief Judge Marcia S. Krieger

   Civil Action No. 14-cv-00370-MSK-MJW

   COLORADO PRESS ASSOCIATION, INC., and
   WE ARE PUEBLO, LLC d/b/a Pulp,

                  Plaintiffs,
   v.

   BARBARA J. BROHL, in her official capacity as the Executive Director of the Colorado
   Department of Revenue,

          Defendant.


                                         FINAL JUDGMENT


          In accordance with orders filed during the pendency of this case, and pursuant to Fed. R.

   Civ. P 58(a)(1), the following Final Judgment is hereby entered.

          Pursuant to the Opinion and Order by Chief Judge Marcia S. Krieger (Doc. #102) filed on

   March 12, 2015, granting the Motion to Dismiss (Doc. #90), it is

          ORDERED that:

          All claims are DISMISSED without prejudice.

   ORDERED that costs are awarded to the defendant and against the plaintiffs upon the filing of a

   bill of costs within 14 days of entry of judgment, in accordance with the procedures set forth in

   Fed. R. Civ. P. 54(d)(1) and D.C.COLO.LCivR 54.1

          The case is closed.

          Dated this 13th day March, 2015.

                                                ENTERED FOR THE COURT:
                                                JEFFREY P. COLWELL, CLERK
Case 1:14-cv-00370-MSK-MJW Document 103 Filed 03/13/15 USDC Colorado Page 2 of 2




                                     s/Patricia Glover
                                       Deputy Clerk
